                     Case 5:19-cv-01280-RBF Document 2 Filed 10/29/19 Page 1 of 6


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                   Western District of Texas


   Michael J. Daniels, Barbara High-Daniels, Et. Al.           )
                                                               )
                                                               )
                                                               )
                            Plaint!!J(s)                       )
                                                               )
                                v.                                    Civil Action No. 5:19-cv-01280
                                                               )
 AETC II Privatized Housing, LLC; AETC II Property             )
  Managers, LLC; and Hunt ELP, Ltd. d/b/a Hunt                 )
                Military Communities                           )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) AETC II Privatized Housing, LLC
                                   Registered Agent: Capitol Corporate Services, Inc.
                                   206 E. 9th Street, Suite 1300
                                   Austin, Texas 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Pulman, Cappuccio, & Pullen
                                 C/O Ryan Reed and Randall Pulman
                                 2161 NW Military Hwy, Suite 400
                                 San Antonio, Texas 78701



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
                        Case 5:19-cv-01280-RBF Document 2 Filed 10/29/19 Page 2 of 6


AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:19-cv-01280

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (na1ne of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (nan1e of individual)                                                                       , who is
                                                                      ~~~~--~~~~~~~~~~--~~~-




            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ;   or
          ~~~~.~~~~~~~~~--~~~~~~~~-                                                          -~~~~~~~~




           0 I returned the summons unexecuted because                                                                                ; or

           0 Other (specih):




           My fees are$                            for travel and $                   for services, for a total of$            0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server's signature



                                                                                         Printed na1ne and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
                     Case 5:19-cv-01280-RBF Document 2 Filed 10/29/19 Page 3 of 6


AO 440 (Rev. 06/12} Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                   Western District of Texas


   Michael J. Daniels, Barbara High-Daniels, Et. Al.           )
                                                               )
                                                               )
                                                               )
                            P/aintif!(s)                       )
                                                               )
                                v.                                     Civil Action No. 5:19-cv-01280
                                                               )
 AETC II Privatized Housing, LLC; AETC II Property             )
   Managers, LLC; and Hunt ELP, Ltd. d/b/a Hunt                )
                Military Communities                           )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) AETC 11 Property Managers, LLC
                                   Registered Agent: Capitol Corporate Services, Inc.
                                   206 E. 9th Street, Suite 1300
                                   Austin, Texas 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Pulman, Cappuccio, & Pullen
                                 C/O Ryan Reed and Randall Pulman
                                 2161 NW Military Hwy, Suite 400
                                 San Antonio, Texas 78701



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                    Signature of Clerk or Deputy Clerk
                        Case 5:19-cv-01280-RBF Document 2 Filed 10/29/19 Page 4 of 6


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 5:19-cv-01280

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for           (nanie of individual and title,   if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                          on (date)                            ; or
          -----------------------                                                                                       ----
           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                           , a person of suitable age and discretion who resides there,
                                                      -----
           on (date)                                   , and mailed a copy to the individual's last known address; or

           0 I served the sum1nons on (name of individual)                                                                              , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                          on (date)                            ; or
           -----------------------                                                                    --------~




           0 I returned the summons unexecuted because                                                                                       ; or
                                                                                                 --------------~




           0 Other      (specifi'):




           My fees are$                               for travel and $                         for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                                      Server 's signature



                                                                                                  Printed na111e and title




                                                                                                      Server's address


Additional information regarding attempted service, etc:
                     Case 5:19-cv-01280-RBF Document 2 Filed 10/29/19 Page 5 of 6


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                   Western District of Texas


   Michael J. Daniels, Barbara High-Daniels, Et. Al.           )
                                                               )
                                                               )
                                                               )
                            P/aintiff(s)                       )
                                                               )
                                v.                                     Civil Action No. 5:19-cv-01280
                                                               )
 AETC II Privatized Housing, LLC; AETC II Property             )
   Managers, LLC; and Hunt ELP, Ltd. d/b/a Hunt                )
                Military Communities                           )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Hunt ELP, Ltd. d/b/a Hunt Military Communities
                                   Registered Agent: Capitol Corporate Services, Inc.
                                   206 E. 9th Street, Suite 1300
                                   Austin, Texas 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Pulman, Cappuccio, & Pullen
                                 C/O Ryan Reed and Randall Pulman
                                 2161 NW Military Hwy, Suite 400
                                 San Antonio, Texas 78701



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                    S;gnature of Clerk or Deputy Clerk
                        Case 5:19-cv-01280-RBF Document 2 Filed 10/29/19 Page 6 of 6


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:19-cv-01280

                                                       PROOF OF SERVICE
                       (This section should not be filed with tfte court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (na111e of individual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          -----------------~




           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual}                                                                      , who is
                                                                         ---~~~~~~~~~~~~~~~




            designated by law to accept service of process on behalf of (lwme of organization)
                                                                                 on (date)                            ; or
          -------------------------                                                          --------~




           0 I returned the summons unexecuted because                                                                              ; or

           0 Other      (specifY):




           My fees are$                            for travel and $                   for services, for a total of$          0.00
                                                                       ------




           I declare under penalty of perjury that this infonnation is true.



Date:
                                                                                             Server's signature



                                                                                         Printed na111e and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
